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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
-----------------------------------------------X
ZEO Health Ltd.; Micah Portney;
Touchstone Life Essentials, Inc.; and              Case No.: 2:21-cv-11410
Norwood E. Stone,                                  (ES)(JCB)

                           Plaintiffs,             NOTICE OF MOTION FOR
                                                   AN EXTENSION OF TIME TO
v.                                                 EFFECTUATE SERVICE ON
                                                   DEFENDANT ZOI GLOBAL,
ZOI Global, LLC; Lori R. Lee; Denise               LLC AND FOR
Stephens; Metron Nutraceuticals, LLC;              ALTERNATIVE SERVICE
and Nikolaos Tsirikos-Karapanos,                   VIA THE NEVADA
                                                   SECRETARY OF STATE
                          Defendants.
                                                   Return Date: November 12, 2021

                                                   ORAL ARGUMENT
                                                   REQUESTED
-----------------------------------------------X
TO: Paul S. Danner
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LLC and Nikolaos Tsirikos-Karapanos


      PLEASE TAKE NOTICE that on December 6, 2021, at 10:00 a.m. or

soon thereafter as counsel may be heard, Plaintiffs will move this Court for an

Order extending the time for service of process on Defendant Zoi Global and

permitting alternative service via the Nevada Secretary of State pursuant to N.J.

Ct. R. 4:4-4(b)(1).

      PLEASE TAKE FURTHER NOTICE that in support of the within

Motion, Plaintiffs rely upon the accompanying Declaration of Anya Engel, the

exhibits annexed thereto, as well as the memorandum of law in support

submitted herewith.

      PLEASE TAKE FURTHER NOTICE that a proposed form of Order is

included and oral argument is requested.



Dated: November 12, 2021               Respectfully submitted,
                                       s/ Dariush Keyhani
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